                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )           Case No. 1:13-cr-89
                                                  )
JOE JENKINS                                       )            Judge Mattice/Carter
                                                  )



                              REPORT and RECOMMENDATION

                                           I. Introduction

        Defendant Joe Jenkins is charged under 21 U.S.C. ' 841(a)(1) and (b)(1)(A) for

conspiracy to distribute cocaine base, otherwise known as crack, and cocaine. At least some of

the evidence against him stems from various wiretaps on various phones conducted pursuant to

wiretaps authorized by this Court which were requested by federal law enforcement agents from

May of 2012 (Target Telephone 4 (TT4)1(page ID# 1884)) to May 2013 (TT9).. Defendant

moves to suppress all evidence obtained from non-consensual intercepted electronic

communications (“wiretaps”) in this case, on the grounds the evidence was obtained in violation

of the Fourth Amendment to the Constitution and in violation of 18 U.S.C. § 2510, et seq., and

Fed. R. Crim. Proc. 41(c).2 Because the undersigned concludes the relevant wiretap applications

adequately set forth probable cause to issue the wiretaps, adequately met the necessity

requirement, were issued pursuant to valid orders and were conducted with adequate

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         Each phone number of a specific, targeted telephone is henceforth denoted by “TT”
followed by the designated number. Thus, Target Telephone 4 is denoted as TT4, Target Telephone 5
as TT5 and so forth.

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        In the first paragraph of his brief, Defendant also states the wiretaps violated the Fifth
and Sixth Amendments, but his brief does not elaborate any further.

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minimization, it is RECOMMENDED that the motion to suppress (Doc. 402) be DENIED in its

entirety.

                                             II. Facts

        The undersigned held an evidentiary hearing on Defendant’s Motion to Suppress on

September 18 and 19, 2014. Agent James Hixson of the Chattanooga Police Department, who is

assigned to the Federal Drug Enforcement Agency (DEA) Task Force, testified. Based on the

evidence obtained from this hearing and on the record as a whole, the undersigned makes the

following findings of fact and subsequent recommendations.

        Joe Jenkins is one of thirteen defendants charged in a Second Superseding Indictment

(Doc. 200). He is charged in Count 1 only with a crack and powder cocaine conspiracy, a

violation of 21 U.S.C. §§ 846 and 841(b)(1)(A). During the course of its investigation into the

alleged drug trafficking activities of Juanzell Jenkins and others, the Government sought and

obtained information through pen registers on numerous telephone numbers. This and other

evidence including use of confidential informers (“CI’s”) led to requests for wiretap warrants on

phones the Government believed were used by Juanzell Jenkins. The wiretaps were placed on

TT4 through TT9; the Government intends to introduce evidence from TT4, 5 and 8 and asserts

Defendant was not intercepted on any of the other wiretaps (Doc. 596, Response to Motion to

Suppress, p. 1). TT4 and TT5 were for phone numbers used by Juanzell Jenkins, Defendant’s

brother, while TT6 and TT8 were used by Robert North, and TT7 and TT9 were used by

Kenyata Jasper.

        All of the wiretap orders were signed by United States District Judge Harry S. Mattice, Jr.

The Court signed the order authorizing the wiretap on TT4 on May 10, 2012. (Page ID# 1884). It

signed an order authorizing the wiretap on TT5 on February 4, 2013. (TT5 Order, Doc. 525,



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Page ID# 1905). Interception commenced February 5 and continued until March 5, 2013, a

period of 29 days. (First and Second reports on TT5, Doc. 586-3 and 586-4, Page ID## 2901 and

2909.)

          The Court signed an order authorizing the wiretaps on TT6 and TT7 on April 2, 2013.

(TT6/7 Order, Doc. 586-7, Page ID# 2935). Interception commenced April 3. It terminated the

wiretap on TT6 on April 6 and terminated the wiretap on TT7 on April 21, 2013. (TT7 Report,

Doc. 586-8, Page ID# 2936).

          The Court signed the order authorizing the wiretap on TT8 on April 15, 2013. (TT8

Order, Doc. 525, Page ID# 1979). Interception commenced April 16 and terminated May 15,

2013, a period of 30 days. (TT9 Affidavit, Doc. 560-2, Page ID# 2650).

          The Court signed the order authorizing the wiretap on TT9 on May 31, 2013. (TT9

Order, Doc. 586-16, Page ID# 2997). Interception commenced June 3 and terminated July 1,

2013, a period of 29 days. (TT9 Report, Doc. 586-17, Page ID# 2998).

          In the course of its pen register and wiretap surveillance, the Government also obtained

information on numerous other telephone numbers, asserting that these other numbers were

being used by individuals who were also participants in the crack cocaine, cocaine powder, and

money laundering operation. The Government identified telephone numbers it believed were

utilized by Joe Jenkins by use of pen registers and wiretap surveillance. These phones were used

to make and receive calls on three of the wiretaps, TT4 (associated with Joe Jenkins’ brother

Juanzell), TT5 (also associated with brother Juanzell Jenkins), and TT8 (associated with Robert

North).

          Joe Jenkins was not an original target of the Government’s investigation. He came to

light as a frequent speaker in phone conversations with his brother, Juanzell Jenkins, who was



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the target, and as a result of an allegation by CS-2 that Joe Jenkins was involved in drug dealing

with his brother (TT4 Affidavit, Doc. 525, p. 25, Page ID# 1830).

       Joe Jenkins was not a “named interceptee” in the TT4 wiretap application in which his

brother, Juanzell Jenkins; Gerald Toney; Jimmy Bush; and David Weaver were named. (TT4

Application, Doc. 539, p. 2, Page ID# 2341). The affidavit for the TT4 wiretap attested to the

investigation’s use of confidential source information, physical surveillance, controlled drug

purchases, toll analysis, and pen registers. (TT4 Affidavit, Doc. 525, p. 5, Page ID# 1810). It

mentioned Joe Jenkins not as a “named interceptee” but as one of the “other subjects” discussed

in the affidavit. (TT4 Affidavit, Doc. 525, p. 11, Page ID# 1816). The affidavit went on to

assert that the evidence would establish probable cause to believe the “named interceptees”

would use TT4 to commit the crimes under investigation and that interception would shed light

on how the “named interceptees” and their “confederates” operated. (TT4 Affidavit, Doc. 525,

pp. 12-13, Page ID## 1817-1818). The affidavit relied on information and work from four

confidential informants, one of whom had previously given information against Levar Williams,

a defendant in another federal case. Joe Jenkins was named in connection with the investigation

when (1) he was observed coming to and then leaving his mother’s house at the same time as his

brother, Juanzell, was allegedly conducting a drug transaction outside his mother’s house; (2) he

was observed returning to his mother’s house later, as did his brother, Juanzell; and (3) on one

occasion when a confidential informant was unable to contact Juanzell Jenkins, the informant

drove to his mother’s house on Citico Avenue and asked Joe Jenkins to ask his brother, Juanzell,

to telephone the informant. Juanzell did not call. (TT4 Affidavit, Doc. 525, pp. 35, 36, 40 and

paragraphs 66, 71, 80, Page ID## 1840-1841, 1845). As Defendant points out, the Affidavit

omitted the fact that Joe Jenkins’ residence was across the street from his mother’s residence.



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       The First Report to the Court on TT4 reflected 2608 calls and 1399 short message

services “SMS” messages intercepted. One thousand, three hundred and ninety-nine (1399) calls

were completed, 265 calls and 62 SMS messages were deemed “pertinent” and 15 calls were

minimized. (1st TT4 Report, Doc. 586-1, Page ID# 2888). The Government’s second report

reflected 3763 calls and 434 SMS messages. One thousand, nine hundred and sixty (1960) were

completed calls. Four hundred and sixty-seven (467) calls and 166 SMS messages were deemed

“pertinent.” Thirty-eight (38) calls were minimized. According to the Government, “several

calls” were so short that minimization was unnecessary. (2d TT4 Report, Doc. 586-2, Page ID##

2897-2898).

       Joe Jenkins was listed as a named interceptee on the TT5 application. (TT5 Application,

Doc. 525, p. 2, Page ID# 1886). The affidavit supporting this application provides the following

as to Joe Jenkins: (1) A telephone number associated with Joe Jenkins had been intercepted on

TT4, a number associated with brother Juanzell. (2) Joe Jenkins had a criminal record that

included cocaine charges and at least one cocaine conviction. (3) Defendant was on supervised

release for the cocaine conviction. (4) Between May 14 and June 12, 2012, Defendant had 67

“pertinent calls” with brother Juanzell on TT4. (TT5 Affidavit, Doc. 525, p. 9, Page ID# 1914,

(dated 2/4/13)). The affidavit referenced two alleged “pertinent” intercepted calls from TT4

involving Joe Jenkins and Juanzell Jenkins. (TT5 Affidavit, Doc. 525, pp. 19-21, Page ID##

1924-1926). Neither conversation makes a clear, explicit mention of narcotics; however, affiant

Agent Hixson swore that, based on his “training and experience and knowledge,” both calls did

involve discussions of cocaine.

       The Government’s First Report to the Court reflected 1006 calls on TT5, of which 915

were completed. Three hundred and seventy-one (371) calls were deemed pertinent and 0 calls



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were minimized. (1st TT5 Report, Doc. 586-3, Page ID# 2901). In its Second Report to the Court

the Government noted 1911 calls, of which 1699 were completed. Six hundred and forty-six

(646) were deemed pertinent, 38 were minimized, and 5 involved privilege. “Several calls” were

so short that minimization was unnecessary. (2d TT5 Report, Doc. 586-4, Page ID# 2909).

       Joe Jenkins was not identified as a “named interceptee” on the TT6/TT7 application.

(TT6/7 Application, Doc. 586-6, Page ID# 2916). A “Jumoke Jenkins” was named. The Order

authorizing the wiretap names Jumoke Johnson, not “Jumoke Jenkins.” (TT6/7 Order, Doc. 586-

7, Page ID# 2927). The Government does not intend to introduce any evidence from TT7.

       Joe Jenkins was not listed as an “interceptee” on the TT8 warrant application which

targeted Robert North, Juanzell Jenkins, Kenyatta Jasper, Torrey Gilmore, and “others as yet

unknown.” (TT8, Application, Doc. 525, Page ID# 1960). The Government’s First Report to the

Court on TT8 reflected 758 calls, of which 184 were deemed pertinent and 5 were minimized.

(1st TT8 Report, Doc. 586-13, Page ID# 2970). The Second Report to the Court on TT8 noted

2013 calls and 296 SMS messages intercepted, of which 12 were minimized and 287 deemed

pertinent. (2d TT8 Report, Doc. 586-14, Page ID# 2975).

       Joe Jenkins was a “named interceptee” for the warrant application on TT9. (TT9

Application, Doc. 586-15, Page ID# 2978). The Government asserts that there were no

interceptions of Defendant on TT9. In the application for TT9, the basis for the Government’s

belief that Joe Jenkins was involved in the operation was (1) he had a criminal record that

included cocaine charges and at least one cocaine conviction, (2) he was on supervised release

for the cocaine conviction, (3) between May 14 and June 12, 2012, he had 67 “pertinent calls”

with his brother Juanzell Jenkins on TT4. (Affidavit for TT9, Doc. 560-2, p 12, Page ID# 2647

(dated 5/31/13)). The language supporting targeting Joe Jenkins for TT9 is largely identical to



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the language used to support targeting him for TT5; however, the Government did note in its

affidavit that its TT9 pen register reflected 8 calls to/from a number associated with Joe Jenkins.

(Affidavit for TT9, Doc. 560-2, p 21, Page ID# 2656). However, after authorization of the TT9

wiretap, which was based in part on the Government’s assertion that a phone number associated

with Joe Jenkins made eight calls to this number, the Government intercepted no calls involving

Joe Jenkins.

       In its First Report to the Court on TT9, the Government noted 148 calls intercepted and

15 SMS messages intercepted. Ten (10) calls were deemed pertinent and 0 calls were

minimized. (TT9 Report, Doc. 586-17, Page ID# 2998).

                                            III. Analysis

       A. Franks v. Delaware Issue

       Defendant seeks suppression of evidence derived from the federal court authorized

wiretaps. I will address the issues presented. Before doing so, I will address Defendant’s

request for a hearing pursuant to Franks v. Delaware, 438 U.S. 154 (1978). The Government

argues defendant is not entitled to such a hearing, and his motion does not provide a basis to

suppress the evidence seized from the defendant.

       The Supreme Court held in Franks that "where the defendant makes a substantial

preliminary showing that a false statement knowingly and intentionally, or with reckless

disregard for the truth, was included by the affiant in the warrant affidavit, and if the allegedly

false statement is necessary to the finding of probable cause, the Fourth Amendment requires

that a hearing be held at the defendant's request." Id. at 155-56; see also United States v. Poulsen,

655 F.2d 492, 504 (6th Cir. 2011) (same); United States v. Zimmer, 14 F.3d 286 (6th Cir. 1994)

(defendant has the burden of proving deliberate falsehood or reckless disregard for the truth);



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United States v. Henson, 848 F.2d 1374, 1381 (6th Cir. 1988) (defendant bears burden to prove

by preponderance of evidence that the affidavit contained false statements made knowingly or

intentionally). The Sixth Circuit has stated the analysis as follows:

               A defendant who challenges the veracity of statements made in an
       affidavit that formed the basis for a warrant has a heavy burden. His allegations
       must be more than conclusory. He must point to specific false statements that he
       claims were made intentionally or with reckless disregard for the truth. He must
       accompany his allegations with an offer of proof. Moreover, he also should
       provide supporting affidavits or explain their absence. If he meets these
       requirements, then the question becomes whether, absent the challenged
       statements, there remains sufficient content in the affidavit to support a finding of
       probable cause.

United States v. Bennett, 905 F.2d 931, 934 (6th Cir.1990) (citations omitted).

       A Franks hearing requires that the defendant make a substantial preliminary showing that

the affiant, rather than the informant, deliberately or recklessly included false information in the

affidavit. Franks, at 171; United States v. Rodriguez-Suazo, 346 F.3d 637, 648 (6th Cir. 2003);

United States v. Ayen, 997 F.2d 1150, 1152 (6th Cir.1993); United States v. Giacalone, 853 F.2d

470, 477 (6th Cir. 1988); see also, Mays v. City of Dayton, 134 F.3d 809, 816 (6th Cir. 1998)

(AFranks recognizes that information an affiant reports may not ultimately be accurate, and is

willing to tolerate such a result at that early stage of the process, so long as the affiant believed

the accuracy of the statement at the time it was made.@). The officer=s affidavit is entitled to a

presumption of validity. Franks, 438 U.S. at 171.

       In this case, Defendant filed an affidavit from his investigator pointing to a

misidentification of Robert North in a drug deal which occurred in 2009 and detailed in

paragraphs 32-40 of the affidavit for the wiretap on TT4. (TT4, Affidavit at 22-24, R. 525, Page

ID## 1827-1829). Actually paragraphs 37-40 are the paragraphs in which North was identified.

(TT4, Affidavit at 23-24, R. 525, Page ID## 1828-1829). As the Government argues, the



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Defendant does not allege how striking North’s name from these paragraphs would negate

probable cause in this affidavit. As the Government argued in their response, and as Agent

Hixson testified at a hearing, he did review surveillance photos of the 2009 wire-tap

investigation, and he did believe the person in the photograph was North. Agent Hixson has

since received information that the person in the photograph whom he misidentified as Robert

North was another defendant, Boone Patterson, who was convicted federally of charges related

to the distribution of cocaine. Agent Hixson, however, did not know this at the time of the

affidavit. It is true that the person in the photograph in question was identified in a previous

wiretap investigation (from 2009) as another person, Boone Patterson, by another affiant. Agent

Hixson, however, did not simply rely on this previous identification, but, rather, he actually

looked at the photographs himself to determine the man’s identity. I agree with the

Government’s argument that in doing so he was in no way careless or reckless. Agent Hixson

actually went out of his way to identify the person himself. He now knows that the person in

said photograph was misidentified in both affidavits (the 2009 affidavit and TT4). Regardless of

this misidentification, even if this Court were to excise North’s name, I conclude there was

ample probable cause to support the issuance of the order authorizing interception in this case.

Additionally, there was no showing that Hixson intentionally or recklessly provided false

information, only that the information was incorrect.

       The Defendant makes several other allegations of errors which the Government argues

are not supported by an affidavit and which are either factually incorrect and/or do not affect

probable cause. For example, the defendant references a transaction CS-4 made with Juanzell

Jenkins in paragraph 19(d) of TT-4, and then points to paragraphs 83-84 of TT-4 as support for

the fact that CS-4 didn’t have Juanzell Jenkins’s number. (Court File #403 at 20, R. 595 at 21)



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(referring to TT4 Affidavit at 17-18, R. 525, Page ID## 1822-1823 and TT4 Affidavit at 41-42,

R. 525, Page ID## 1846-1847). The Defendant believes this demonstrates an inconsistency.

However, the Government points out that CS-4 was being monitored and recorded as he met

with an individual named Broome who gave his telephone to CS-4. Therefore, only CS-4’s

portion of the conversation was monitored and recorded. CS-4 later explained to law

enforcement he was speaking with Juanzell Jenkins. I conclude that any discrepancy here is

minor and is neither knowing nor reckless.

       The affidavit in support of the motion for a Franks hearing did set out some

inconsistencies, and, on that basis, and because there were issues of minimization raised that

would require testimony, the Court did allow Defendant to present evidence, so essentially the

Court allowed a Franks hearing.3 None of the testimony presented in that hearing caused me to

conclude Agent Hixson knowingly or recklessly included untrue information in the affidavit.

The misidentification of North was understandable in light of the photographs presented at the

hearing indicating similarities in appearance of Robert North, Boone Patterson and the person

who was ultimately identified as the actual person in the picture, Jonathan Winters. Other issues

such as the failure to include in the affidavit that Joe Jenkins resided across the street from his

mother do not appear to me to support a finding that Agent Hixson acted with knowing or

reckless disregard for the truth when he prepared the wire-tap application. Although Defendant

argues other wiretaps may be relevant for some purposes, the question is whether the

applications for wiretaps of TT4, TT5 and TT8 are supported by probable cause and provide a



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 As the undersigned will discuss in this Report and Recommendation, even when the statements
allegedly made with reckless disregard for the truth are removed from the wiretap affidavits, the
affidavits still support probable cause to issue the wiretaps. Therefore, Defendant was not
entitled to a hearing under Franks v. Delaware; however, allowing Defendant to have an
evidentiary hearing in no way prejudiced him.
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sufficient showing of necessity because those are the only wiretaps which contain information

which the Government intends to use in evidence. I conclude Agent Hixson did not act with a

reckless or intentional disregard for the truth when he swore to the wiretap applications for TT4,

TT5, and TT8.

        Further, as will be discussed in the next section, the affidavits in support of the wiretaps

provide probable cause to issue the wiretaps, even when the statements objected to by the

Defendant are removed from them.

        B. Probable Cause

        The United States Court of Appeals for the Sixth Circuit has stated that A[t]he basic

standards for a wiretap are similar to those for a search warrant, but there also must be strict

compliance with Title III of the Omnibus Crime Control and Safe Streets Act of 1968 [Title III],

18 U.S.C. '' 2510-2520.@ United States v. v. Alfano, 838 F.2d 158, 161-62 (6th Cir. 1988)

(brackets added). The Alfano court further discussed what standards were necessary to be in

compliance:

        That Act was enacted for the purpose of regularizing and controlling the issuance
        of warrants for wiretaps. At the same time, we are instructed that there is no
        specific formula that must be met for a warrant, and that evidence must be judged
        on the totality of the circumstances and in a reasonable and common sense
        manner. Illinois v. Gates, 462 U.S. 213, 238 (1983). Under this standard, the
        question that must be decided in issuing a warrant is whether there is probable
        cause to believe that evidence of a crime will be uncovered.

Alfano, 838 F.2d at 161-62. Stated another way, for the issuance of a wiretap order, probable

cause is present if the totality of the circumstances reveals that there is a fair probability that a

wiretap will uncover evidence of a crime. United States v. Fairchild, 189 F.3d 769, 775 (8th Cir.

1999); United States v. Giacalone, 853 F.2d 470, 478 (6th Cir. 1988); United States v. LaPuma,




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1989 WL 125242 (6th Cir. Oct. 23, 1989) (unpublished); United States v. O=Leary, 1987 WL

36581, at 3 (6th Cir. Jan. 7, 1987) (unpublished).

       Defendant argues that there is no probable cause in TT4 pointing to “multiple misleading

statements.” Defendant points to the misidentification of Robert North and various other

deficiencies (Doc. 594, pp. 20-24). He then argues the affidavit for TT5, if “excised of

information obtained by improper reliance on the TT4 wiretap” does not contain sufficient

information to establish probable cause. I disagree for the reasons discussed below.

               TT4 Wiretap

       Agent James Hixson, a Task Force Officer with the Drug Enforcement Agency (DEA),

was participating in an investigation of cocaine and cocaine base (crack) distribution by a

suspected Chattanooga drug distribution organization involving Juanzell Jenkins. Agent Hixson

was the Affiant on TT4, TT5 and TT8. The May 10, 2012, Application and Affidavit in support

seeks authorization to tap a cellular phone, TT4, subscribed to Artavis Jenkins and utilized by

Juanzell Jenkins (Application, Page ID# 2340 and Affidavit, Page ID# 1808). Named

interceptees were Juanzell Jenkins, Gerald Toney, Jimmy Bush and David Weaver and others yet

unknown who have committed, are committing and will continue to commit offenses involving:

               (a)    Conspiracy to distribute and to possess with intent to distribute
       controlled substances, in violation of Title 21, U.S.C. § 846;

              (b)      Distribution of and possession with intent to distribute controlled
       substances, in violation of Title 21, U.S.C. § 841(a)(1);

               (c)    Use of a communication facility to commit, facilitate, or in
       furtherance of controlled substances violations in violation of Title 21, U.S.C. §
       843(b);

               (d)     Money laundering and conspiracy to commit money laundering, in
       violation of Title 18, U.S.C. §§ 1956 and 1957;




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                 (e)    Aiding and abetting the aforementioned crimes, in violation of
         Title 18, U.S.C. § 2.

                 10.     As set forth below, there is probable cause to believe that the
         above offenses have been and are being committed by Juanzell JENKINS; Gerald
         TONEY, Jimmy BUSH, and David WEAVER and others yet known, (hereinafter
         referred to as the “NAMED INTERCEPTEES”), using TT4, used by Juanzell
         JENKINS. TT4 is subscribed to by Artavis JENKINS, 13 Millers Way,
         Adairsville, Georgia, and utilized by Juanzell JENKINS of 4904 Sarasota Drive,
         Hixson, Tennessee. As set forth more fully below, the investigation to date has
         revealed certain facts regarding the NAMED INTERCEPTEES and their
         participation in various drug trafficking activities.

(Application for TT4 wiretap, Page ID## 2341, 2342 and Affidavit, Page ID## 1809,

1810).

         In support of probable cause, the Affidavit details the robust prior criminal records of

Jenkins, Tony, Bush and Weaver, all of whom have prior drug related charges and convictions.

(Affidavit, Page ID## 1811, 1813, 1814, 1816).

         A review of phone tolls and pen register analysis connected Toney (Affidavit, Page ID#

1812), Bush (Affidavit, Page ID# 1813) and Weaver (Affidavit, Page ID# 1815) with Jenkins.

Pen register and toll analysis is detailed in pages 47 to 49 of the Affidavit (Page ID## 1852-

1854).

         Evidence to support probable cause against Jenkins included at least four controlled

purchases of cocaine and cocaine base (crack) and surveillance by police (Affidavit Page ID#

1822). Intercepted calls were made on a phone previously owned by Jenkins in an earlier

wiretap on another phone number, TT1. Although the language used did not explicitly indicate

drug transactions, based on his training and experience and knowledge of the investigation,

Agent Hixson concluded the calls by Jenkins were related to drug transactions (Affidavit, Page

ID## 1834-1836, Page ID## 1843, 1843 and Page ID## 1849, 1850).




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       Toney was identified by a confidential source as a significant distributor of cocaine in

Chattanooga. According to this confidential source who had proven reliable in the past, Toney

was concealing the proceeds of his cocaine distribution in a recently opened car detailing

business.

       Probable cause related to Bush also included proffers and interviews which identified

Bush as a significant distributor of cocaine and cocaine base in Chattanooga (Affidavit, Page ID#

1813). The proffers were from federal defendants who have dealt cocaine with Bush and had

first-hand knowledge.

       As to Weaver, cooperating defendants and confidential sources identified Weaver as a

significant distributor of cocaine and cocaine base. Some of the cooperating defendants and

confidential sources had given reliable information in other cases (Affidavit, Page ID# 1815).

Based on the totality of the circumstances shown in the affidavit for TT4, I conclude there is

ample probable cause in the affidavit and that there was a fair probability that a wiretap would

uncover evidence of a crime.

               TT5 Wiretap

       The February 4, 2013, Application and Affidavit in support seeks authorization to tap a

cellular phone, TT5, subscribed to Artavis Jenkins and utilized by Juanzell Jenkins (Application,

Page ID# 1885 and Affidavit, Page ID# 1908). Named interceptees were Juanzell Jenkins,

Gerald Toney, Robert Stephon North, Clifford Simpson, Sh’Kayla Watkins, Joe Jenkins and

others yet unknown.

       Probable cause to support the wiretap is present in the Affidavit. As to Juanzell Jenkins,

the investigation included confidential source information, physical surveillance, controlled drug




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purchases, toll analysis, court authorized pen registers and a court authorized intercept (TT4)

which supported his involvement as a crack cocaine dealer.

       The information as to Gerald Toney included the same information set out in TT4 as well

as intercepted calls between May 14 and June 12, 2013, where Toney was intercepted in 47

pertinent calls on TT4 which confirmed he was a close associate and co-conspirator with Jenkins

(Affidavit p. 8, Page ID# 1913).

       As to Joe Jenkins, in addition to his past prior record of conviction for conspiracy to

distribute marijuana and cocaine, conspiracy to commit money laundering and his then current

status as a supervised releasee for that offense, he was intercepted on 67 pertinent calls on TT4

confirming his active role in distributing cocaine (Affidavit p. 9, Page ID# 1914). The calls of

May 14, 2012 and May 23, 2012 do not use the word cocaine, but the Affiant states as to both

calls that based on his training and experience and knowledge of the investigation, the calls relate

to cocaine transactions (Page ID## 1924, 1925).

       The information in the application about Robert North is based on a review of police

reports, detailed call records, pen register information and subpoenaed telephone subscriber

information (Page ID# 1915). Information from a confidential source who had previously

proven reliable, indicated North was distributing large quantities of cocaine in Chattanooga. The

affiant had been present in numerous proffers and interviews in which individuals had identified

North as a significant distributor of cocaine and cocaine base. Those proffers dealt directly with

North (Page ID# 1915).

       The investigation into co-defendant Clifford Simpson included phone toll and pen

register analysis and court authorized intercepts which indicate Simpson is a source of supply of

cocaine and marijuana for Jenkins. In addition to his robust prior criminal record which included



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conviction for conspiracy to distribute cocaine, Simpson was identified as a source of supply of

cocaine and marijuana for Jenkins in the court authorized intercept of TT4 including 632

pertinent calls and text messages during the TT4 interception (Page ID## 1916, 1917).

       The investigation of Watkins was based on phone toll and pen register analysis and

intercepts from TT4 which indicate her to be a close associate of Jenkins. Between May 14,

2012 and June 12, 2012, she was intercepted on 14 pertinent calls and 38 pertinent texts. Those

confirmed her active role in distributing narcotics for Juanzell Jenkins (Page ID# 1918).

       I conclude there was ample probable cause in the affidavit for TT5 and that there was a

fair probability that a wiretap would uncover evidence of a crime.

               TT8 Wiretap

       The April 15, 2013, Application and Affidavit in support seeks authorization to tap a

cellular phone, TT8, subscribed to Ashley Orr and used by Robert Stephon North (Application,

Page ID# 1984 and Affidavit, Page ID# 1959). Named interceptees were Robert Stephon North,

Juanzell Jenkins, Kenyatta Jasper, Torey Gilmore and others not yet known (Page ID# 1985).

       The investigation of North was based on court authorized intercepts, phone toll and pen

analysis and information from confidential sources that North was a close associate and co-

conspirator and source of supply of cocaine for Juanzell Jenkins. Information from a previously

proven reliable confidential source indicated North was distributing large quantities of cocaine

and cocaine base (crack). Proffers/interviews were given by individuals who had dealt cocaine

and cocaine base directly with North. That information along with North’s prior felony drug

history and phone calls intercepted on TT5, established North as a source of cocaine supply for

Juanzell Jenkins (Page ID## 1985-1987).




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       Investigation of Juanzell Jenkins included confidential source information, physical

surveillance, controlled drug purchases, toll analysis, court authorized pen registers and a court

authorized intercept which indicated Jenkins was a cocaine and cocaine base dealer in

Chattanooga. He was identified in numerous calls intercepted on TT4 and TT5 (Page ID# 1988).

       Investigation of Kenyatta Jasper included confidential source information, physical

surveillance, controlled drug purchases, toll analysis, court authorized pen registers and a court

authorized intercept which indicated Jasper was a cocaine and cocaine base dealer in

Chattanooga. Jasper and Jenkins were involved in 33 pertinent calls during the interception of

TT5. As a result of those intercepts, Jasper was identified as a source of supply for cocaine.

(Page ID## 1988, 1989).

       Investigation of Torrey Gilmore is based primarily on information from phone toll and

pen analysis and information from other law enforcement officers indicating Gilmore’s

involvement as a cocaine and cocaine base dealer. The affidavit relates his robust criminal

history and points to information from a confidential source, who had previously proven reliable,

indicating Gilmore was distributing cocaine base (crack) in Chattanooga. A review of phone toll

and pen register activity for TT7 from March 4, 2013 to April 11, 2013, indicated 106 calls from

Torrey Gilmore (Page ID# 1999).

       I conclude the affidavit contained ample probable cause for the issuance of TT8 and that

there was a fair probability that a wiretap would uncover evidence of a crime.

       C. Necessity

       Next, Defendant argues the wiretap applications fail to establish necessity. In order to

obtain a wiretap, the Government must overcome the statutory presumption against this intrusive

investigative method by proving necessity. See United States v. Blackmon, 273 F.3d 1204, 1207



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(9th Cir. 2001). According to 18 U.S.C. ' 2518(1)(c), the government may establish necessity for

a wiretap by any of three alternative methods. In order to demonstrate the "necessity" of the

wiretap, the government must provide a "full and complete" statement that traditional

investigative procedures (1) have been tried and failed; (2) reasonably appear unlikely to succeed

if tried; or (3) are too dangerous to try. United States v. Rice, 478 F.3d 704, 710 (6th Cir. 2007);

United States v. Gonzalez, Inc., 412 F.3d 1102, 1112 (9th Cir. 2005).

           This Anecessity@ requirement is designed to ensure that

           wiretaps are not to be used thoughtlessly or in a dragnet fashion. As our court has
           said, what is needed is to show that wiretaps are not being routinely employed as
           the initial step in criminal investigation. However, the government is not required
           to prove that every other conceivable method has been tried and failed or that all
           avenues of investigation have been exhausted.

United States v. Alfano, 838 F.2d 158,163 (6th Cir. 1988) (internal citations omitted).

           The necessity requirement is Asimply designed to assure that wiretapping is not

resorted to in situations where traditional investigative techniques would suffice to

expose the crime.@ United States v. Robertson, 504 F.2d 289, 293 (5th Cir.1974). The

Sixth Circuit has explained the requirements of the necessity provisions for the Title III

statute:

           These provisions do not require that the police officials exhaust every conceivable
           non-wiretap investigative technique. All that is required is that the investigators
           give serious consideration to the non-wiretap techniques prior to applying for
           wiretap authority and that the court be informed of the reasons for the
           investigators= belief that such non-wiretap techniques have been or will likely be
           inadequate.

United States v. Lambert, 771 F.2d 83 (6th Cir. 1985) (citations omitted).

           AThe requirement that there be disclosure as to the use, success, and potential

success of other investigative techniques, however, does not mean >that any particular

investigative procedures [must] be exhausted before a wiretap may be authorized.=@

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United States v. Miller, 116 F.3d 641, 663 (2d Cir. 1997) (citing United States v. Young,

822 F.2d 1234, 1237 (2dCir.1987). A defendant who seeks suppression of evidence

obtained through a wiretap bears the burden of production and persuasion to show the

wiretap violated some statutory or constitutional right. United States v. Patel, __Fed.

Appx.___, 2014 WL 5335422 *3 (6th Cir. Oct. 21, 2014) (citing United States v. Chaar,

137 F.3d 359, 363 (6th Cir. 1998)). The evidence is considered in the light most

favorable to the government. Patel, __Fed. Appx.__, 2014 WL 5335422 * 3 (citing

United States v. Rodriguez-Suazo, 346 F.3d 673, 643 (6th Cir. 2003)).

       The Sixth Circuit has recognized the unique value of the wiretap in fully investigating

telephone-dependent criminal conspiracies:

       [T]he mere fact that some investigative techniques were successful in uncovering
       evidence of wrongdoing does not mandate that a court negate the need for wiretap
       surveillance. We have previously recognized that Awiretapping is particularly
       appropriate when the telephone is routinely relied on to conduct the criminal
       enterprise under investigation.@ United States v. Landmesser, 553 F.2d 17, 20 (6th
       Cir.1977) (quoting United States v. Steinberg, 525 F.2d 1126, 1130 (2d
       Cir.1975)).

United States v. Stewart, 306 F.3d 295, 305-06 (6th Cir. 2002).

       In each of the relevant interceptions (TTs 4, 5, and 8), Agent Hixson described in detail

in the respective affidavits the other, less intrusive methods of investigation that he used or

considered in this case. In each affidavit, Agent Hixson addressed the need for interception to

determine the scope of the drug conspiracy and to determine the identity of Juanzell Jenkins’

cocaine sources (TT4, Page ID## 1855, 1856; TT5, Page ID## 1937, 1938; TT8, Page ID##

2001, 2002). Agent Hixson specifically discussed alternative methods of investigation and why

they will not achieve the goals of the investigation.




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       In each affidavit Agent Hixson discussed the use or consideration of physical

surveillance, use of grand jury subpoenas, interviews of subjects or associates, search warrants,

infiltration by undercover officers, use of cooperating individuals, purchase of drugs by

undercover officers and cooperating witnesses, review of telephone records including pen

registers and trap and trace results, pole cameras, and trash pulls. (TT4 Affidavit, pp. 50-64, R.

525, Page ID## 1855-1869; TT5 Affidavit, pp. 31-44, R. 525, Page ID## 1936-1949; TT8

Affidavit, pp. 22-39, R. 525, Page ID## 2001-2018). I agree with the Government that the

description in each of these sections of the affidavits is not so general as to be meaningless as the

Defendant suggests. Agent Hixson provides information regarding this investigation and why

these techniques are not sufficient to accomplish the goals of the investigation.

       For example, in TT4, while discussing the limitations of physical surveillance, Agent

Hixson gives a specific example that Juanzell Jenkins “uses evasive driving maneuvers and takes

long indirect routes to arrive at particular locations.” (TT4, Affidavit at 55, R. 525, Page ID#

1860). Another example from TT5 in the discussion of the use of cooperating individuals details

how Juanzell Jenkins “has established a residence with utilities in an alias name” and that

(Juanzell) “Jenkins frequently changes phone numbers and at one point cut off communication

with CS-1 and dropped TT1 when he suspected CS-1 was working with law enforcement.”

(TT5, Affidavit at 44, R. 525, Page ID# 1949). Likewise, in TT8, Agent Hixson details specific

dates and locations of multiple surveillances of the various targets of the investigation. (TT8

Affidavit at 27-29, R. 525, Page ID## 2006-2008).

       As the Government points out, Juanzell Jenkins, who had a previous federal drug felony,

was very careful. The affidavits show he took conscious measures to avoid detection by law

enforcement. While the defendant argues that the United States could have arrested Juanzell



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Jenkins without the necessity of a wiretap, I conclude, as did the District Judge, that the goals of

the investigation which are clearly stated in each affidavit could not be accomplished without the

interceptions. (TT4 Affidavit at 50-52, R. 525, Page ID## 1855-1857; TT5 Affidavit at 31-35, R.

525, Page ID## 1936-1940; TT8 Affidavit at 22-25, R. 525, Page ID## 2001-2004). The scope

of the conspiracy and Juanzell Jenkins’ drug sources could not be identified without the

interceptions. More than one source of supply from Atlanta was actually discovered through

these interceptions, and the sources were subsequently federally indicted. The consideration of

these investigative alternatives satisfied the requirements of 18 U.S.C. ' 2518(1)(c).

       In each affidavit in this case, Agent Hixson adequately explained the necessity of the

interceptions. The Court would have been aware of the alternative forms of investigation used,

which were set out in the affidavits, and properly concluded on the basis of the affidavits why

other forms of investigation would not accomplish all of the goals of the investigation such as

determining the identity of suppliers and the entire scope of the conspiracy. The Court therefore

authorized the wiretap. I conclude the Court did not err in this decision.

       D. Orders Authorizing Wiretaps

       Defendant argues that the Court violated 18 U.S.C. § 2518(3) in TT4 and TT5 because

the Orders did not “specify” why alternative investigative techniques were inadequate. (Doc. 594

at p. 18, Page ID# 3051). The Court specifically found, “[n]ormal investigative procedures have

been tried without success or have failed to yield the evidence sought, or reasonably appear

unlikely to succeed if tried or would be too dangerous if tried.” (TT4/TT5 Orders at 3, R. 525,

Page ID## 1878/1899). The Court discussed in the finding of probable cause the expected

information to be obtained through the interceptions including the nature, extent and methods of




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drug trafficking, the identity and roles of accomplices, aiders and abettors, co-conspirators and

participants in the drug related activities (TT4, Page ID 1877; TT5, Page ID## 1898).

       As noted above, the affidavit establishes the necessity of the interceptions. There is no

requirement that the Court list each alternative investigative technique and then rehash the

reasons they were not or would not be effective in accomplishing the goals of the investigation.

The affidavit sets out the reasons. The Court considered the reasons and found them sufficient.

The Court ordered the interception. As with a search warrant, the Court in signing the wiretap

warrant does not list the specific reasons it finds probable cause. The Court simply states that

probable cause exists.

               Timing of Interception

        The Order authorizing interception on TT4 was signed on May 10, 2012. Interception

began on May 12, 2012, and ceased on June 12, 2012, at 11:59 pm. The interception did not

exceed the 30 day period authorized by this Court’s Order. Testimony at the hearing confirmed

that the interception did not exceed 30 days.

       E. Minimization

       Title III requires that wiretaps “shall be conducted in such a way as to minimize the

interception of communications not otherwise subject to interception,” 18 U.S.C. § 2518(5),

meaning that law enforcement agents must make reasonable efforts to stop recording

conversations which are not relevant, i.e. “non-pertinent” to the criminal investigation. United

States v. Patel, __Fed. Appx. __, 2014 WL 533422 at *7- *8 (6th Cir. Oct. 21, 2014). “The

wiretap statute ‘does not forbid the interception of all nonrelevant conversations, but rather

instructs the agents to conduct the surveillance in such a manner as to ‘minimize’ the

interception of such conversations.’” Id. (citing Scott v. United States, 436 U.S. 128, 140



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(1978)). In determining whether agents have acted reasonably in minimizing non-pertinent calls,

the Court must consider three factors: (1) the nature and scope of the criminal investigation, (2)

the government’s reasonable expectations of the character of conversations, and (3) the extent of

judicial supervision over the surveillance. Patel, __Fed. Appx.__, 2014 WL 533422 at *8 (citing

United States v. Feldman, 606 F.2d 673, 678 (6th Cir. 1979)). Each case must be considered on

the basis of its own facts and circumstances. Patel, __Fed. Appx.__, 2014 WL 533422 at *8

(citing Scott, 436 U.S. at 140). Further, it is not enough that the defendant identify particular

calls which should have been minimized but were not. Rather, a defendant must “establish a

pattern of interception of innocent conversations which developed over the period of the

wiretap.” Patel, __Fed. Appx.__, 2014 WL 5335422 at *8 (citing United States v. Lawson, 780

F.2d 535, 540 (6th Cir. 1985)). The defendant bears the burden to show that agents “exhibited a

high disregard for [the defendant’s] privacy rights or that they did not do all they reasonably

could to avoid unnecessary intrusions.” Patel, __Fed. Appx.__, 2014 WL 533422 at *8 (citing

Feldman, 606 F.2d at 679.)

       The only testimony on the issue at the hearing was from Agent Hixson. He testified that

once the Orders were signed by the Court, agents had “a minimization meeting” to discuss the

proper procedures regarding minimizing irrelevant conservations before each wiretap was put in

place. It was his testimony that minimization was strictly followed. It is true that many calls

were not minimized, but some certainly were. It appears from the testimony that most of the

non-pertinent calls that were not minimized were of too short a duration for the agents to

minimize them. The calls were completed before it could be determined whether they were

pertinent. Some that were not minimized went straight to voicemail but are still counted as a

complete call. Others are text messages. In addition, agents had probable cause to believe the



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named interceptees were involved in a large drug trafficking conspiracy, making it reasonable for

agents to believe that many of the calls were part of the conspiracy. Further, the participants to

the conversations often spoke in code making it difficult for agents to determine immediately

which calls were pertinent and which were not. As the Sixth Circuit stated in Patel,

       In a case presenting a “wide-ranging conspiracy with a large number of
       participants, even a seasoned listener would have been hard pressed to determine
       with any precision the relevancy of many of the calls before they were
       completed.” [Scott, 436 U.S.] at 142. Further, a large number of calls were
       ambiguous, “making characterization virtually impossible until the completion of
       these calls.”

Patel, __Fed. Appx.__, 2014 WL 533422 at *8 (citing Scott, 436 U.S. at 142) (brackets added).

       Because the relevant interception orders were for Juanzell Jenkins and Robert North, not

the Defendant, the United States only listened to the Defendant’s calls between the Defendant

and his brother and North. Law enforcement knew that the Defendant’s brother and North were

sources of cocaine supply for the Defendant and reasonably listened to these calls.

       Finally, I note that the Government provided regular reports to the Court for its review of

the wiretaps. Based on the all the evidence before me, I conclude the Defendant has not met his

burden to show agents acted with a high disregard for Defendant’s privacy rights or that there

was a pattern of interception of innocent conversations.4

       F. Good Faith Exception

       The Government argues that even if the affidavits at issue fail to support probable cause

to issue TT4, TT5, and TT8, the good faith exception to the exclusionary rule as articulated by

the Supreme Court in United States v. Leon, 468 U.S. 897 (1984) and Herring v. United States,


4
 I also note that Defendant vigorously denied that certain conversations, which Agent Hixson
testified were conducted in code by Defendant and his brother to discuss drug trafficking, had
anything to do with drug trafficking. That argument is best left for the jury. For purposes of this
motion, as previously discussed, the Court must consider the evidence in the light most favorable
to the Government, and I do not conclude Agent Hixson is misrepresenting the truth to the Court.
                                                24

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555 U.S. 135 (2009) should apply. Neither Leon nor Herring, however, dealt with a wiretap.

Wiretaps must not only comport with the Fourth Amendment but also with Title III of the

Omnibus Crime Control and Safe Streets Act, 18 U.S.C. § § 2510 et seq. which lays out specific

procedures and standards which must be met in order to issue a wiretap. In United States v. Rice,

478 F.3d 704, 711 (6th Cir. 2007), the Sixth Circuit held that “the government’s good faith

argument is without merit, because the good faith exception to the warrant requirement is not

applicable to warrants obtained pursuant to Title III.” The Government did not address Rice and

has thus offered no reason why the holding in Rice does not apply to the instant case. I conclude

the good faith exception does not apply to the wiretaps at issue in this case.




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                                          IV. Conclusion

       The Defendant has failed to meet his burden to prove the wiretap evidence should be

suppressed in this case. United States v. Giacalone, 853 F.2d 470, 482 (6th Cir.1988) (“the law

is clear in this circuit that ‘the burden of production and persuasion rests on the person seeking to

suppress evidence’”) (quoting United States v. Smith, 783 F.2d 648, 650 (6th Cir.1986)). I

conclude there was ample probable cause shown in each of the four affidavits with or without the

allegedly incorrect statements, necessity was satisfied in each of them, the Orders were

sufficient, no interception exceeded 30 days, and the Government sufficiently satisfied the

minimization requirement. 5

       For the reasons stated herein, I RECOMMEND6 that Defendant Joe Jenkins’ motion to

suppress (Doc. 402) be DENIED.



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                                              UNITED STATES MAGISTRATE JUDGE




       5
         There were several miscitations in the Government’s brief which made it difficult for the
undersigned to follow the Government’s argument.
       6
           Any objections to this Report and Recommendation must be served and filed within
fourteen (14) days after service of a copy of this recommended disposition on the objecting party.
Such objections must conform to the requirements of Rule 59(b)(2) of the Federal Rules of
Criminal Procedure. Failure to file objections within the time specified waives the right to appeal
the District Court’s order. Thomas v. Arn, 474 U.S. 140, 88 L.Ed.2d 435, 106 S. Ct. 466 (1985). The
district court need not provide de novo review where objections to this report and recommendation
are frivolous, conclusive or general. Mira v. Marshall, 806 F.2d 636 (6th Cir. 1986). Only specific
objections are reserved for appellate review. Smith v. Detroit Federation of Teachers, 829 F.2d 1370
(6th Cir. 1987).


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